      Case 5:24-cv-00332-XR         Document 34      Filed 11/20/24      Page 1 of 4



                        IN THE UNITED STATES DISTRICT COURT                         FLEr
                             WESTERN DISTRICT OF TEXAS
                                SAN ANTONIO DIVISION                               t'OV     )

                                                                              CLERK, U S   DHfcr
                                                     §
MARK ORTEGA, individually and on behalf              §
of all others similarly situated,                                                                      H
                                                     §
                                                     §
                             Plaintiff,              §           Case No. SA-24-CV-00332-XR
vs.                                                  §
                                                     §
KELLER WILLIAMS REALTY, INC.,                        §
and KWWD, LLC                                        §
                               Defendant.            §



      NOTICE OF INTENT TO PROCEED PRO SE AND CORRECTION OF ADDRESS

        I, Mark Ortega, am the Plaintiff in the above-referenced case. I am writing to formally

notify the Court of my intention to proceed with this case pro Se, representing myself on my

individual claims.

        I understand that my previous attorney, Paulina Almanza, has been granted leave to

withdraw as my counsel by the Court's Order dated October 24, 2024 (ECF No. 30). I am also

aware that the Court's Order requires me to inform the Court by December 2, 2024, whether I

intend to proceed without counsel, obtain new counsel, dismiss the case, or request additional time.

         I choose to proceed pro se and will represent myself going forward in this matter

concerning my individual claims.

         Furthermore, I would like to bring to the Courts attention that the address listed in the

Motion to Withdraw Counsel (ECF No. 30) is incorrect. My correct address is 152 Bedingfeld Dr,

San Antonio, TX 78231. I respectfully request that the Court and opposing counsel direct all future

correspondence and pleadings to me at this corrected address.
   Case 5:24-cv-00332-XR       Document 34   Filed 11/20/24     Page 2 of 4




                                             Respectfully submitted,


                                             Mark Ortega
DATED this 18th day of November 2024,




                                             Mark Ortega, Plaintiff
                                             152 Bedingfeld Dr
                                             San Antonio, TX 78231
                                             Telephone: 210-744-9663
                                             Email: mortegautexas. edu
    Case 5:24-cv-00332-XR         Document 34       Filed 11/20/24     Page 3 of 4




                                CERTIEICATE OF SERVICE

I hereby certify that on November 18, 2024, I traditionally filed the foregoing with the Clerk of
Court, which sent notification of such filing to the Court and counsel.



                                                    Mark Ortega
Case 5:24-cv-00332-XR           Document 34             Filed 11/20/24   Page 4 of 4




                                f
                                     (5z
                                           -ky--
                                      Dr
   20




                                _7
        fj
                 L'5.
                 Dc OEr
             -
             0




                                                   :.
                          I.T
